         Case 20-34682 Document 48 Filed in TXSB on 10/02/20 Page 1 of 6



                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION                            ENTERED
                                                                           09/30/2020
                                         )
In re:                                   )   Chapter 11
                                         )
BOUCHARD TRANSPORTATION CO.,             )   Case No. 20-34682 (DRJ)
INC.,                                    )
                                         )
                     Debtor.             )
                                         )
Tax I.D. No. XX-XXXXXXX                  )
                                         )
In re:                                   )   Chapter 11
                                         )
B. NO. 240 CORP.,                        )   Case No. 20-34680 (DRJ)
                                         )
                                         )
                     Debtor.             )
                                         )
Tax I.D. No. XX-XXXXXXX                  )
                                         )
In re:                                   )   Chapter 11
                                         )
B. NO 295 CORP.,                         )   Case No. 20-34683 (DRJ)
                                         )
                     Debtor.             )
                                         )
Tax I.D. No. XX-XXXXXXX                  )
                                         )
In re:                                   )   Chapter 11
                                         )
TUG BARBARA E. BOUCHARD CORP.,           )   Case No. 20-34681 (DRJ)
                                         )
                                         )
                     Debtor.             )
                                         )
Tax I.D. No. XX-XXXXXXX                  )
         Case 20-34682 Document 48 Filed in TXSB on 10/02/20 Page 2 of 6



                                                       )
In re:                                                 )    Chapter 11
                                                       )
TUG BOUCHARD GIRLS CORP.,                              )    Case No. 20-34684 (DRJ)
                                                       )
                                                       )
                         Debtor.                       )
                                                       )
Tax I.D. No. XX-XXXXXXX                                )

                   ORDER (I) DIRECTING JOINT ADMINISTRATION
          OF THE CHAPTER 11 CASES AND (II) GRANTING RELATED RELIEF
                                     'RFNHW1R
          Upon the motion (the “Motion”)1 of the above-captioned debtors and debtors in

possession (collectively, the “Debtors”) for entry of an order (this “Order”), (a) directing the

joint administration of the Debtors’ chapter 11 cases for procedural purposes only and

(b) granting related relief, all as more fully set forth in the Motion; and upon the First Day

Declaration; and this Court having jurisdiction over this matter pursuant to 28 U.S.C. § 1334;

and this Court having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and

this Court having found that venue of this proceeding and the Motion in this district is proper

pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that the relief requested in

the Motion is in the best interests of the Debtors’ estates, their creditors, and other parties in

interest; and this Court having found that the Debtors’ notice of the Motion and opportunity for a

hearing on the Motion were appropriate under the circumstances; and this Court having reviewed

the Motion and having heard the statements in support of the relief requested therein at a hearing

before this Court (the “Hearing”); and this Court having determined that the legal and factual

bases set forth in the Motion and at the Hearing establish just cause for the relief granted herein;

and upon all of the proceedings had before this Court; and after due deliberation and sufficient

cause appearing therefor, it is HEREBY ORDERED THAT:

1
    Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.


                                                       2
      Case 20-34682 Document 48 Filed in TXSB on 10/02/20 Page 3 of 6



        1.       The above-captioned chapter 11 cases are consolidated for procedural purposes

only and shall be jointly administered by this Court under Case No. 20-34682 (DRJ).

        2.       Additionally, the following checked items are ordered:

        a.          :     One disclosure statement and plan of reorganization may be filed for all of
                          the cases by any plan proponent.

        b.          :     Parties may request joint hearings on matters pending in any of the jointly
                          administered cases.

        c.          :     Other: See below.

        3.       The caption of the jointly administered cases should read as follows:

                        IN THE UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

                                               )
In re:                                         ) Chapter 11
                                               )
BOUCHARD TRANSPORTATION CO., INC., et al.,1 ) Case No. 20-34682 (DRJ)
                                               )
                  Debtors.                     ) (Jointly Administered)
                                               )
___________________________________________________
1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, are: Bouchard Transportation Co., Inc. (6190); B. No. 240 Corp. (8260); B. No. 295 Corp. (1019); Tug
    Barbara E. Bouchard Corp. (7889); and Tug Bouchard Girls Corp. (1231). The location of the Debtors’ service
    address is: 58 South Service Road, Suite 150, Melville, NY 11747.

        4.       The foregoing caption satisfies the requirements set forth in section 342(c)(1) of

the Bankruptcy Code.

        5.       A docket entry, substantially similar to the following, shall be entered on the

dockets of each of the Debtors, other than Bouchard Transportation Co., Inc. to reflect the joint

administration of these chapter 11 cases:

        A An order has been entered in accordance with Rule 1015(b) of the Federal Rules of Bankruptcy
        Procedure and Rule 1015-1 of the Local Rules of Bankruptcy Practice and Procedure of the United
        States Bankruptcy Court for the Southern District of Texas directing joint administration of the
        chapter 11 cases of: Bouchard Transportation Co., Inc., Case No. 20-34682 (DRJ); B. No. 240
        Corp., Case No. 20-34680 (DRJ); B. No. 295 Corp., Case No. 20-34683 (DRJ); Tug Barbara E.


                                                         3
     Case 20-34682 Document 48 Filed in TXSB on 10/02/20 Page 4 of 6



       Bouchard Corp., Case No. 20-34681 (DRJ); and Tug Bouchard Girls Corp., Case No. 20-34684
       (DRJ); All further pleadings and other papers shall be filed in and all further docket entries
       shall be made in Case No. 20-34682 (DRJ).

       6.      The Debtors shall maintain, and the Clerk of the Court shall keep, one

consolidated docket, one file, and one consolidated service list for these chapter 11 cases.

       7.      The Debtors are authorized to file monthly operating reports on a consolidated

basis, but shall track and break out income and disbursements on a debtor-by-debtor basis.

       8.      Any party in interest may request joint hearings on matters pending in any of

these chapter 11 cases.

       9.      Nothing contained in the Motion or this Order shall be deemed or construed as

directing or otherwise effecting a substantive consolidation of these chapter 11 cases and

this Order shall be without prejudice to the rights of the Debtors to seek entry of an order

substantively consolidating their respective cases.

       10.     Notice of the Motion as provided therein shall be deemed good and sufficient

notice of such Motion and the requirements of the Bankruptcy Rules and the Local Rules are

satisfied by such notice.

       11.     Notwithstanding any Bankruptcy Rule to the contrary, the terms and conditions of

this Order are immediately effective and enforceable upon its entry.

       12.     The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.

       13.     This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.

Houston, Texas
     Signed: September 30, 2020.
Dated: _________, 2020
                                                         ____________________________________
                                                         UNITEDR.STATES
                                                         DAVID    JONES BANKRUPTCY JUDGE
                                                         UNITED STATES BANKRUPTCY JUDGE


                                                     4
                       Case 20-34682 Document 48 Filed in TXSB on 10/02/20 Page 5 of 6
                                                              United States Bankruptcy Court
                                                                Southern District of Texas
In re:                                                                                                                 Case No. 20-34682-drj
Bouchard Transportation Co., Inc.                                                                                      Chapter 11
       Debtor(s)
                                                     CERTIFICATE OF NOTICE
District/off: 0541-4                                                  User: aaloadi                                                               Page 1 of 2
Date Rcvd: Sep 30, 2020                                               Form ID: pdf001                                                            Total Noticed: 2
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Oct 02, 2020:
Recip ID                 Recipient Name and Address
db                     + Bouchard Transportation Co., Inc., 58 South Service Road, Suite 150, Melville, NY 11747-2342
op                     + Stretto, Stretto, 8269 E. 23rd Avenue, Suite 275, Denver, CO 80238-3597

TOTAL: 2

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
cr                             Broward County, Florida
cr                             McAllister Towing & Transportation, Inc.
cr                             McAllister Towing of Baltimore, Inc.
cr                             McAllister Towing of Connecticut, LLC
cr                             McAllister Towing of Narragansett Bay, LLC d/b/a P
cr                             McAllister Towing of New York, LLC
cr                             McAllister Towing of Philadelphia, Inc.
cr                             McAllister Towing of Port Everglades d/b/a Tugz Co
cr                             Portland Tugboat LLC
cr                             Steelstran Industries, Inc.
cr                             United States of America

TOTAL: 11 Undeliverable, 0 Duplicate, 0 Out of date forwarding address


                                                      NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Oct 02, 2020                                            Signature:           /s/Joseph Speetjens




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on September 30, 2020 at the address(es) listed
below:
                       Case 20-34682 Document 48 Filed in TXSB on 10/02/20 Page 6 of 6
District/off: 0541-4                                          User: aaloadi                                                      Page 2 of 2
Date Rcvd: Sep 30, 2020                                       Form ID: pdf001                                                   Total Noticed: 2
Name                         Email Address
Genevieve Marie Graham
                             on behalf of Debtor Bouchard Transportation Co. Inc. ggraham@jw.com, dtrevino@jw.com;kgradney@jw.com

Hector Duran, Jr
                             on behalf of U.S. Trustee US Trustee Hector.Duran.Jr@usdoj.gov

J Stephen Simms
                             on behalf of Creditor Portland Tugboat LLC jssimms@simmsshowers.com
                             dmhnat@simmsshowers.com;cjlyon@simmsshowers.com;jdallen@simmsshowers.com

J Stephen Simms
                             on behalf of Creditor McAllister Towing of New York LLC jssimms@simmsshowers.com,
                             dmhnat@simmsshowers.com;cjlyon@simmsshowers.com;jdallen@simmsshowers.com

J Stephen Simms
                             on behalf of Creditor McAllister Towing & Transportation Inc. jssimms@simmsshowers.com,
                             dmhnat@simmsshowers.com;cjlyon@simmsshowers.com;jdallen@simmsshowers.com

J Stephen Simms
                             on behalf of Creditor McAllister Towing of Baltimore Inc. jssimms@simmsshowers.com,
                             dmhnat@simmsshowers.com;cjlyon@simmsshowers.com;jdallen@simmsshowers.com

J Stephen Simms
                             on behalf of Creditor Steelstran Industries Inc. jssimms@simmsshowers.com,
                             dmhnat@simmsshowers.com;cjlyon@simmsshowers.com;jdallen@simmsshowers.com

J Stephen Simms
                             on behalf of Creditor McAllister Towing of Narragansett Bay LLC d/b/a Providence Steamboat Company
                             jssimms@simmsshowers.com, dmhnat@simmsshowers.com;cjlyon@simmsshowers.com;jdallen@simmsshowers.com

J Stephen Simms
                             on behalf of Creditor McAllister Towing of Port Everglades d/b/a Tugz Company LLC jssimms@simmsshowers.com,
                             dmhnat@simmsshowers.com;cjlyon@simmsshowers.com;jdallen@simmsshowers.com

J Stephen Simms
                             on behalf of Creditor McAllister Towing of Philadelphia Inc. jssimms@simmsshowers.com,
                             dmhnat@simmsshowers.com;cjlyon@simmsshowers.com;jdallen@simmsshowers.com

J Stephen Simms
                             on behalf of Creditor McAllister Towing of Connecticut LLC jssimms@simmsshowers.com,
                             dmhnat@simmsshowers.com;cjlyon@simmsshowers.com;jdallen@simmsshowers.com

Matthew D Cavenaugh
                             on behalf of Debtor Bouchard Transportation Co. Inc. mcavenaugh@jw.com, kgradney@jw.com;dtrevino@jw.com

Richard A. Kincheloe
                             on behalf of Creditor United States of America Richard.Kincheloe@usdoj.gov
                             caseview.ecf@usdoj.gov;sonja.mccoy@usdoj.gov;sydnie.kempen@usdoj.gov;Nicole.robbins@usdoj.gov;rhoma.romero@usdoj.g
                             ov;USATXS.Bankruptcy-ECF@usdoj.gov

Scott Andron
                             on behalf of Creditor Broward County Florida sandron@broward.org, swulfekuhle@broward.org

Stephen Douglas Statham
                             on behalf of U.S. Trustee US Trustee stephen.statham@usdoj.gov

US Trustee
                             USTPRegion07.HU.ECF@USDOJ.GOV


TOTAL: 16
